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                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Lexington)

  FORCHT BANK, N.A., et. al.,                    )
                                                 )
          Plaintiffs,                            )          Civil Action No. 5: 24-304-DCR
                                                 )
  V.                                             )
                                                 )
  CONSUMER FINANCIAL                             )                    ORDER
  PROTECTION BUREAU, et. al.,                    )
                                                 )
         Defendants.                             )

                                    ***    ***       ***   ***

       This matter is pending for consideration of Financial Data and Technology Association

of North America (“FDATA”) [Record No. 74] and Public Citizen’s [Record No. 76] separate

motions for leave to file memoranda of law in support of Intervenor Defendant Financial

Technology Association’s (“FTA”) motion for summary judgment as amici curiae.

       Once again, this Court has noted that participation of amici curiae is “a privilege within

the sound discretion of the courts, depending upon a finding that the proffered information of

amicus is timely, useful, or otherwise necessary to the administration of justice.” BancInsure,

Inc. v. U.K. Bancorporation Inc./United Kentucky Bank of Pendleton County, Inc., 830 F.

Supp. 2d 294, 307 (E.D. Ky. 2011) (quoting United States v. Michigan, 940 F.2d 143, 165 (6th

Cir. 1991)). In addition, the proper role of amici is “to aid the Court in resolving doubtful

issues of the law rather than presenting a partisan view of the facts.” Id. (citation modified).

       FDATA purports to offer “additional historical context relevant to the interpretation of

Section 1033, additional legal authorities and analysis that may inform the interpretation of

that provision and key terms like ‘consumer’ and ‘representative,’ and additional analysis of


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the challenged rule’s treatment of payment-initiation information.” [Record No. 74, p. 4] It

further asserts that its brief provides more thorough context regarding the history of open

banking, and surveys other statutes in which Congress defined key statutory terms more

narrowly. However, this additional information is not necessary to the administration of

justice, nor does it aid the undersigned in resolving doubtful legal issues in the case.

       Public Citizen’s arguments are similarly unhelpful. It opposes vacatur of the Final Rule

in issue based on notice-and-comment rulemaking requirements under the Administrative

Procedures Act, and procedural issues related to the Consumer Financial Protection Bureau’s

decision to oppose the Final Rule. But FTA already addressed those issues. [See Record No.

65, p. 22.] Accordingly, it is hereby

       ORDERED as follows:

       1.      Financial Data and Technology Association of North America’s “Motion for

Leave to file Amicus Curiae Brief” [Record No. 74] is DENIED.

       2.      Public Citizen’s “Motion for Leave to file Amicus Curiae Brief in Opposition

to Defendants’ Motion for Summary Judgment” [Record No. 76] is DENIED.

       Dated: July 8, 2025.




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